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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

YVONNE GABEL, AND ALL OTHERS
SIMILARLY SITUATED UNDER 29 USC
216(B),

        Plaintiff,                                    Civil Action No. 5:20-cv-1420

                     v.

CARENET – INFOMEDIA GROUP, INC.,
d/b/a CARENET HEALTHCARE SERVICES,

       Defendant.


            COLLECTIVE/CLASS ACTION COMPLAINT AND JURY DEMAND

       Plaintiff, YVONNE GABEL, individually and on behalf of all others similarly situated, by

and through her attorneys, hereby brings this Collective/Class Action Complaint against

Defendant, CARENET – INFOMEDIA GROUP, INC. d/b/a CARENET HEATHCARE

SERVICES, and states as follows:

                                      INTRODUCTION

       1.       This is a collective and class action brought pursuant to 29 U.S.C. § 216(b) and

Fed. R. Civ. P. 23 by Plaintiff, YVONNE GABEL (hereinafter referred to as “Plaintiff”),

individually and on behalf of all similarly situated persons employed by Defendant, CARENET –

INFOMEDIA GROUP, INC. d/b/a CARENET HEALTHCARE SERVICES (hereinafter referred

to as “Defendant”), arising from Defendant’s willful violations of the Fair Labor Standards Act

(“FLSA”), 29 U.S.C. § 201, et seq., the Illinois Minimum Wage Law, §§ 820 ILCS 105/1 et. seq.

(“IMWL”), the Illinois Wage Payment and Collection Act, §§ 820 ILCS 115/1 et seq. (“IWPCA”),

and common law.
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       2.      Defendant claims to be “the industry’s premier engagement and telehealth partner,”

which provides virtual health care services to individuals across the country.                  See,

https://carenethealthcare.com/ (last visited 12/2/20).

       3.       Plaintiff and similarly situated employees worked as “TeleNurses” for Defendant

in an at-home call center setting from their home offices. As TeleNurses, they provided over the

phone healthcare services to Defendant’s patients.

       4.       According to Defendant’s website, “[m]ore than 250 of the nation’s premier health

plans, healthcare organizations and Fortune 500 companies already trust Carenet Health as an

extension of their organizations, connecting with consumers and patients on their behalf.” Id.

       5.       Defendant’s website contains the following job description for TeleNurses:

       Carenet Healthcare Services is seeking an RN Clinical Care Advisor to join our
       team of talented professionals who provide telehealth and virtual care clinical triage
       assessments, health education and other services to diverse populations of patients
       and health plan members.

       At Carenet Health, our nurses play an important role in helping healthcare
       consumers live their healthiest lives. You may not know our name, but odds are,
       our nurses or clinical staff have connected with you or someone you know as a
       trusted, behind-the-scenes partner for our clients—250+ of the nation’s premier
       health plans, health systems and their partners.

       About 50,000 times a day, our compassion-focused teams guide people via phone,
       video, chat and other channels to high-quality and cost-effective care, coach them
       to improved wellness, and educate them about their healthcare resources and costs.

       Our nurses and clinical staff supports patients across the U.S. and around the world.
       Our fast-paced positions offer innovative work-at-home capabilities, plus the
       opportunity to keep your clinical skills sharp and have meaningful interactions with
       patients in a less physically demanding setting than a traditional clinical
       environment.

Exhibit A, Exemplary Job Description.

       6.       Defendant employs TeleNurses across the country and requires them to work a set

schedule.
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       7.       Defendant systematically fails to compensate the TeleNurses for the first principal

activities of their workday, which results in TeleNurses not being paid for all their overtime hours,

and in non-overtime workweeks, for regular hours, in violation of the FLSA, IMWL, IWPCA, and

common law.

       8.       Specifically, Defendant fails to compensate TeleNurses for the substantial time

spent booting up their computer systems and reviewing emails with work instructions, prior to

clocking in to Defendant’s timekeeping system.

       9.       Defendant was aware this off-the-clock work was occurring every day, and could

have paid TeleNurses for this time, but did not.

       10.      The U.S. Department of Labor recognizes that call center jobs, like those held by

Defendant’s Representatives, are homogenous and it issued Fact Sheet #64 in July 2008 to alert

call center employees to some of the abuses which are prevalent in the industry. One of those

abuses, which is occurring in this case, is an employer’s refusal to pay for work “from the

beginning of the first principal activity of the workday to the end of the last principal activity of

the workday.” Fact Sheet #64 at p. 2.

       11.      In order to perform her job as a TeleNurse, Plaintiff was required to start-up and

log-in to various computer programs, servers, and applications in order to access the information

necessary to perform her job duties. In addition, Plaintiff was required to read e-mails from

Defendant (management) at the beginning of her shift with various work instructions for each day.

The start-up/log-in process took substantial time on a daily basis with said time ranging from eight

(8) to fifteen (15) minutes per day.

       12.      Plaintiff and other TeleNurses were provided with a one thirty (30) minute lunch

during each shift. However, many of the programs utilized by TeleNurses had an auto-log out
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feature, which logged the TeleNurses out if they were idle for more than a few minutes. For

example, the TeleNurses were kicked out of the VPN and out of the timekeeping system if they

were idle for more than a few minutes. Additionally, TeleNurses were required to log out of other

programs for security reasons. Consequently, Plaintiff and other TeleNurses were forced to go

through some, or all, of the start-up/log-in process when returning from lunch. This generally

resulted in an additional two (2) to three (3) minutes of off-the-clock work every day, but could

take even longer if they had to go through the complete log-in process.

       13.      Finally, at the end of the day, TeleNurses are forced to shut-down/log-out of

various computer programs and software after they clock out for the day. This results in an

additional three (3) to four (4) minutes of off the clock work every day.

       14.      As a result, Plaintiff and other TeleNurses were unlawfully deprived of

approximately thirteen (13) to twenty two (22) minutes of compensation for the off the clock work

that occurred every day.

       15.      Defendant knew, or could have easily determined, how long it took for all of the

above off the clock work, and could have properly compensated Plaintiff and the other TeleNurses

for the work they performed off the clock, but did not.

       16.      Plaintiff brings this action on behalf of herself and all other similarly situated

hourly TeleNurses of Defendant to obtain declaratory relief and recover unpaid wages and

overtime, liquidated damages, penalties, fees and costs, pre- and post-judgment interest, and any

other remedies to which they may be entitled.

                                JURISDICTION AND VENUE

       17.     This Court has subject-matter jurisdiction over Plaintiff’s FLSA claim pursuant to

28 U.S.C. § 1331 because Plaintiff’s claim raises a federal question under 29 U.S.C. § 201, et seq.
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       18.     Additionally, this Court has jurisdiction over Plaintiff’s collective action FLSA

claim pursuant to 29 U.S.C. § 216(b), which provides that suit under the FLSA “may be maintained

against any employer . . . in any Federal or State court of competent jurisdiction.”

       19.     Defendant’s annual sales exceed $500,000 and it has more than two employees, so

the FLSA applies in this case on an enterprise basis. Defendant’s Representatives engage in

interstate commerce and therefore they are also covered by the FLSA on an individual basis.

       20.     This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

to 28 U.S.C. § 1367 because they arise under the same facts as their federal claims.

       21.     This court has personal jurisdiction over Defendant because it regularly and

systematically conducts business within this judicial district and is headquartered in this district.

       22.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) and (c) because

Defendant is headquartered in this district.

                                               PARTIES

       23.      At all relevant times, Plaintiff was a resident of McHenry, Illinois, and was

employed by Defendant as a TeleNurse from her home office. Defendant has employed Plaintiff

as a TeleNurse from December 2018 to the present. Plaintiff signed a consent to join form to join

this lawsuit, which is attached hereto as Exhibit B.

       24.      Defendant is a Texas corporation, doing business in Illinois, but headquartered at

11845 Interstate 10 W, San Antonio, Texas 78230.

                                  GENERAL ALLEGATIONS

       25.      Defendant employed Plaintiff as a TeleNurse from her home office in McHenry,

Illinois. Defendant has employed her in this position from December 2018 to the present and at

all times has paid her at a regular hourly rate, most recently at a rate of $36.38.
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        26.         The position description describes the “typical week” for a TeleNurse as providing

patient-focused care and guidance on the phone or online; communicating with Defendant’s clients

and other team members verbally and digitally; monitoring performance with dashboard metrics;

participation in coaching sessions; and documenting all patient/member interactions via

management software. Exhibit A.

        27.         Throughout her employment with Defendant, Plaintiff regularly worked off the

clock as part of her job as a TeleNurse.

        28.         In order to perform her job, Plaintiff was required to start-up and login to various

computer programs, applications, and servers off the clock in order to access the information

necessary to perform her job duties. Plaintiff was also required read emails off the clock with

work instructions to perform her job duties.

        29.         At all relevant times, Defendant paid Plaintiff and all other TeleNurses an hourly

wage and classified them as nonexempt employees.

        30.         The off the clock work performed by TeleNurses before every shift starting up and

logging into computer programs and reading emails with work instructions were work activities

that directly benefitted Defendant and were integral and indispensable to the TeleNurses’ ability

to perform their job duties.

        31.         Similarly, the off the clock work tasks that the TeleNurses performed when

returning from their lunch breaks starting up and logging back into computer programs directly

benefitted Defendant and were integral and indispensable to the TeleNurses’ ability to perform

their job duties.

        32.         Likewise, the off the clock work tasks that the TeleNurses performed after

clocking out, namely, shutting down and logging out of their computer programs, directly
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benefitted Defendant were integral and indispensable to the TeleNurses’ ability to perform their

job duties.

       33.      All TeleNurses used the same or similar essential computer programs,

applications, and servers in performing their job duties. These computer programs, applications,

and servers are integral and indispensable part of the TeleNurse’s work and they cannot perform

their jobs without them.

       34.      After powering up their computers, and before clocking in, Plaintiff and all other

TeleNurses were required to open, load, and log into the following programs, applications, and

servers: Microsoft Windows, Vidyo, Skype, Microsoft Outlook, Softphone, and Verint. These are

examples of the programs, applications, and servers TeleNurses were required to access before

clocking in and not an exhaustive list.

       35.      On average, Defendant’s TeleNurses spent 8-15 minutes working off the clock at

the start of their scheduled shift accessing computer systems and reading work emails.

       36.      Similarly, TeleNurses spent an additional 2-3 minutes working of the clock to log

back into those computer systems after returning from lunch.

       37.      At the end of the day, TeleNurses spent an additional 3-4 minutes logging out of

computer systems after clocking out of Defendant’s timekeeping system.

       38.      Despite its ability to track the amount of time Plaintiff and other TeleNurses spend

in connection with the pre-shift boot-up and login process, the mid-shift boot-up and log-in

process, and the post-shift shutdown and logout process, Defendant failed to pay Plaintiff and other

TeleNurses for the off the clock work they performed each shift.

       39.      Indeed, in light of the explicit DOL guidance cited above, there is no conceivable

way for Defendant to establish that it acted in good faith.
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  Defendant Directed TeleNurses to Work Off the Clock and Directly Benefitted from the
                                  Off the Clock Work

       40.       At all relevant times, Defendant required and directly benefitted from the off the

clock work performed by Plaintiff and all other TeleNurses in connection with the pre-, mid-, and

post-shift activities described above.

       41.       At all relevant times, Defendant controlled the work schedules, duties, protocols,

applications, assignments, and employment conditions of Plaintiff and all other TeleNurses.

       42.       At all relevant times, Defendant was able to track the amount of time Plaintiff and

other TeleNurses spent in connection with the pre-, mid-, and post-shift activities; however,

Defendant failed to do so and failed to compensate Plaintiff and all other TeleNurses for the off

the clock work they performed.

       43.       At all relevant times, Defendant used its attendance and adherence policies against

Plaintiff and the CSRs in order to pressure them into performing pre-, mid-, and post-shift work,

off the clock.

       44.       Defendant instructed TeleNurses to have all work applications and systems fully

loaded before they clocked-in, so that they were prepared to take calls the moment they clocked-

in. The same policy applied when returning from unpaid lunch breaks. Similarly, at the end of

the shift, Defendant instructed TeleNurses to clock out before closing all work applications and

systems to make certain they were clocked out at the moment they stopped taking calls.

       45.       TeleNurses were subject to discipline if their “AUX time” was too high. AUX

time refers to time the TeleNurses spent clocked-in, but unavailable to take calls. In order to

reduce AUX time, Defendant instructed TeleNurses to perform the boot up and shutdown work

described herein off the clock.

                        Unlawful Deprivation of Wages from TeleNurses
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       46.       During the workweeks that Plaintiff and other TeleNurses did not work over forty

hours (40) in a workweek, the outcome of Defendant’s policies and practices is a depravation of

straight time wages – often referred to as a “gap time” claim. As discussed below, gap time is

compensable.

       47.       Unpaid straight time wages (for Plaintiff’s gap time claims) related to the off the

clock work described herein is owed to TeleNurses at the rate which they were typically paid for

hours worked up to forty (40) hours in a workweek.

       48.       During the workweeks that TeleNurses worked over forty hours (40) in a

workweek, the outcome of Defendant’s policies and practices is a depravation of overtime wages,

which are compensable under the FLSA and applicable state wage and hour laws.

       49.       Unpaid wages related to the off the clock work described herein is owed to

TeleNurses at the FLSA mandated overtime premium of one and one-half their regular hourly rate

in weeks they worked in excess of forty (40) hours in a workweek

       50.       Defendant is in possession of the payroll and timekeeping records that will

illustrate exactly which weeks the TeleNurses worked over forty hours and exactly which weeks

they worked under forty hours.

                                Plaintiff’s Exemplary Workweeks

       51.       Defendant pays TeleNurses on a bi-weekly basis. As an example of one particular

workweek where Defendant failed to pay Plaintiff overtime for hours worked in excess of 40 hours

(as mandated by the FLSA), during the pay period of December 16, 2018 to December 29, 2018:

             Ø Plaintiff was paid for 40 hours of regular time and 0.57 hours of
               overtime, meaning in one of the two weeks Defendant documented
               her working over 40 hours. See Exhibit C.

             Ø With pre-, mid -, and post-shift time of approximately 13 to 22
               minutes per shift, Plaintiff should have been paid an additional
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                approximately 65 to 110 minutes of overtime compensation for the
                particular workweek she worked over 40 hours.

       52.       As another example of one particular workweek where Defendant failed to pay

Plaintiff overtime for hours worked in excess of 40 hours (as mandated by the FLSA), during the

pay period of January 6, 2019 to January 19, 2019:

             Ø Plaintiff was paid for 80 hours of regular time and 1.24 hours of
               overtime, meaning in one or both of the two weeks Defendant
               documented her working over 40 hours. See Exhibit C.

             Ø With pre- and mid-shift time of approximately 13 to 22 minutes per
               shift, Plaintiff should have been paid an additional approximately 65
               to 110 minutes of overtime compensation for the both workweeks
               during this pay period.

       53.       As an example of one particular workweek where Defendant failed to pay Plaintiff

regular wages for all hours worked, during the pay period of July 7, 2019 to July 20, 2019:

             Ø Plaintiff was paid for 66.91 hours of regular time and no overtime,
               meaning Defendant did not document her working over 40 hours.
               See Exhibit C.

             Ø With pre- and mid-shift time of approximately 13 to 22 minutes per
               shift, Plaintiff should have been paid an additional approximately 65
               to 110 minutes of compensation at her regular hourly rate for both
               workweeks in this period.

                                COLLECTIVE ACTION ALLEGATIONS

       54.       Plaintiff brings this action pursuant to 29 U.S.C. § 216(b) of the FLSA on their

own behalf and on behalf of:

                All similarly situated current and former hourly TeleNurses who worked for
                Defendant in the United States, at any time during the last three years.

(hereinafter referred to as the “putative collective members”). Plaintiff reserves the right to amend

this definition as necessary.

       55.      Plaintiff’s FLSA claim should proceed as a collective action because Plaintiff and
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putative collective members, having worked pursuant to common compensation policies described

herein, are “similarly situated” as that term is defined in 29 U.S.C. § 216(b) and the associated

decisional law.

        56.       Plaintiff and putative collective members are similarly situated because (a) they

have been or are employed in the same or similar positions; (b) they were or are subject to the

same unlawful practice, policy, or plan; and (c) their claims are based upon the same factual and

legal theories.

        57.       The key legal issues are also the same for putative collective members, to wit:

whether the off-the-clock time they spend in connection with performing pre-shift and lunch break

activities is compensable under the FLSA.

        58.       Plaintiff estimates that the putative collective members, including both current and

former employees over the relevant period, will include several hundred members. The precise

number of putative collective members should be readily available from a review of Defendant’s

personnel and payroll records.

                     RULE 23 ILLINOIS CLASS ACTION ALLEGATIONS

        59.       Plaintiff brings this action pursuant to Fed R. Civ. P. 23(b)(2) and (b)(3) on her own

behalf and on behalf of:

        All similarly situated current and former hourly TeleNurses who worked for
        Defendant in Illinois at any time during the last three years.

(hereinafter referred to as the “Rule 23 Illinois Class”). Plaintiff reserves the right to amend this

definition as necessary.

        60.       The members of the Rule 23 Illinois Class are so numerous that joinder of all Rule

23 Illinois Class members in this case would be impractical. Plaintiff reasonably estimates that

there are hundreds of Rule 23 Illinois Class members. Rule 23 Illinois Class members should be
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easy to identify from Defendant’s computer systems and electronic payroll and personnel records.

       61.     There is a well-defined community of interest among Rule 23 Illinois Class

members and common questions of law and fact predominate in this action over any questions

affecting individual members of the Rule 23 Illinois Class. These common legal and factual

questions include, but are not limited to, the following:

               a. Whether the pre-shift time Rule 23 Illinois Class members spend on start-
                  up/log-in activities prior to “clocking in” for each shift is compensable time;

               b. Whether the off the clock work performed by the Rule 23 Illinois Class after
                  returning from lunch is compensable;

               c. Whether the off the clock work performed by the Rule 23 Illinois Class after
                  they clock out is compensable; and

               d. Whether Rule 23 Illinois Class members are owed wages for time spent
                  performing pre-shift activities, and if so, the appropriate amount thereof.

       62.     Plaintiff’s claims are typical of those of the Rule 23 Illinois Class in that she and

all other Rule 23 Illinois Class members suffered damages as a direct and proximate result of the

Defendant’s common and systemic payroll policies and practices. Plaintiff’s claims arise from the

same policies, practices, promises and course of conduct as all other Rule 23 Illinois Class

members’ claims and her legal theories are based on the same legal theories as all other Rule 23

Illinois Class members.

       63.     Plaintiff will fully and adequately protect the interests of the Rule 23 Illinois Class

and she has retained counsel who are qualified and experienced in the prosecution of Illinois wage

and hour class actions. Neither Plaintiff nor her counsel have interests that are contrary to, or

conflicting with, the interests of the Rule 23 Illinois Class.

       64.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy, because, inter alia, it is economically infeasible for Rule 23
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Illinois Class members to prosecute individual actions of their own given the relatively small

amount of damages at stake for each individual along with the fear of reprisal by their employer.

Prosecution of this case as a Rule 23 Class action will also eliminate the possibility of duplicative

lawsuits being filed in state and federal courts throughout the nation.

       65.     This case will be manageable as a Rule 23 Class action. Plaintiff and her counsel

know of no unusual difficulties in this case and Defendant and its corporate clients all have

advanced, networked computer and payroll systems that will allow the class, wage, and damages

issues in this case to be resolved with relative ease.

       66.     Because the elements of Rule 23(b)(3) are satisfied in this case, class certification

is appropriate. Shady Grove Orthopedic Assoc., P.A. v. Allstate Ins. Co., 559 U.S. 393; 130 S. Ct.

1431, 1437 (2010) (“[b]y its terms [Rule 23] creates a categorical rule entitling a plaintiff whose

suit meets the specified criteria to pursue his claim as a class action”).

       67.     Because Defendant acted and refused to act on grounds that apply generally to the

Rule 23 Illinois Class and declaratory relief is appropriate in this case with respect to the Rule 23

Illinois Class as a whole, class certification pursuant to Rule 23(b)(2) is also appropriate.

                RULE 23 NATIONWIDE CLASS ACTION ALLEGATIONS

       68.     Plaintiff brings this action pursuant to Fed. R. Civ. P. 23(b)(2) and (b)(3) on her

own behalf and on behalf of:

               All similarly situated current and former hourly TeleNurses who worked for
               Defendant in the United States, at any time during the last three years.

(hereinafter referred to as the “Rule 23 Nationwide Class”). Plaintiff reserves the right to amend

this definition as necessary.

       69.     The members of the Rule 23 Nationwide Class are so numerous that joinder of all

Rule 23 Nationwide Class members in this case would be impractical. Plaintiff reasonably
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estimates there are hundreds of Rule 23 Nationwide Class members. Rule 23 Nationwide Class

members should be easy to identify from Defendant’s computer systems and electronic payroll

and personnel records.

       70.     There is a well-defined community of interest among Rule 23 Nationwide members

and common questions of law and fact predominate in this action over any questions affecting

individual members of the Rule 23 Nationwide Class. These common legal and factual questions,

include, but are not limited to, the following:

               a.      Whether the pre-shift time that Rule 23 Nationwide Class members
                       spend on start-up/log-in activities prior to “clocking in” for each
                       shift is compensable time;

               b.      Whether the time that Rule 23 Nationwide Class members spend on
                       work activities during their lunch break, such as logging back into
                       computer systems and clocking in is compensable time;

               c.      Whether the time that the Rule 23 Nationwide Class members spend
                       on work activities after they clock out, such as logging out of
                       computer systems and shutting down the computer is compensable
                       time; and

               d.      Whether Defendant’s failure to pay the Rule 23 Nationwide Class
                       members for this pre-, mid- and post-shift time at their agreed upon
                       rate constitutes a breach of contract and whether Defendant was
                       unjustly enriched.

       71.     Plaintiff’s claims are typical of those of the Rule 23 Nationwide Class in that they

and all other Rule 23 Nationwide Class members suffered damages as a direct and proximate result

of the Defendant’s common and systemic payroll policies and practices. Plaintiff’s claims arise

from the same pay policies, practices, promises, and course of conduct as all other Rule 23

Nationwide Class members’ claims and their legal theories are based on the same legal theories as

all other Rule 23 Nationwide Class members.

       72.     Plaintiff will fully and adequately protect the interests of the Rule 23 Nationwide
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Class and have retained counsel who are qualified and experienced in the prosecution of

nationwide wage and hour class actions. Neither Plaintiff nor her counsel have interests that are

contrary to, or conflicting with, the interests of the Rule 23 Nationwide Class.

       73.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy, because, inter alia, it is economically infeasible for Rule 23

Nationwide Class members to prosecute individual actions of their own given the relatively small

amount of damages at stake for each individual along with the fear of reprisal by their employer.

Prosecution of this case as a Rule 23 Class action will also eliminate the possibility of duplicative

lawsuits being filed in state and federal courts throughout the nation.

       74.     This case will be manageable as a Rule 23 Class action. Plaintiff and her counsel

know of no unusual difficulties in this case, and Defendant has advanced, networked computer

and payroll systems that will allow the class, wage, and damages issues in this case to be resolved

with relative ease.

       75.     Because the elements of Rule 23(b)(3) are satisfied in this case, class certification

is appropriate. See Shady Grove Orthopedic Assoc., P.A. v. Allstate Ins. Co., 559 U.S. 393, 130

S. Ct. 1431, 1437 (2010) (“[b]y its terms [Rule 23] creates a categorical rule entitling a plaintiff

whose suit meets the specified criteria to pursue his claim as a class action”).

       76.     Because Defendant acted and refused to act on grounds that apply generally to the

Rule 23 Nationwide Class and declaratory relief is appropriate in this case with respect to the Rule

23 Nationwide Class as a whole, class certification pursuant to Rule 23(b)(2) is also appropriate.

                               COUNT I
                         (FLSA Collective Action)
    VIOLATIONS OF THE FAIR LABOR STANDARDS ACT, 29 U.S.C. § 201, et seq.

       77.     Plaintiff re-alleges and incorporates all previous paragraphs herein and further
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alleges as follows.

       78.     At all times relevant to this action, Defendant was Plaintiff’s employer under 29

U.S.C. § 203(d) of the FLSA, subject to the provisions of 29 U.S.C. § 201, et seq.

       79.     Defendant engaged in interstate commerce, or in the production of goods for

commerce, as defined by the FLSA.

       80.     At all times relevant to this action, Plaintiff was an “employee” of Defendant within

the meaning of 29 U.S.C. § 203(e)(1) of the FLSA.

       81.     Plaintiff either (1) engaged in commerce; or (2) engaged in the production of goods

for commerce; or (3) was employed in an enterprise engaged in commerce or in the production of

goods for commerce.

       82.     At all times relevant to this action, Defendant “suffered or permitted” Plaintiff and

all similarly situated current and former employees to work and thus “employed” them within the

meaning of 29 U.S.C. § 203(g) of the FLSA.

       83.     At all times relevant to this action, Defendant required Plaintiff and all similarly

situated current and former putative collective members to perform at least eight (8) to fifteen (15)

minutes of pre-shift start-up/log-in activities per shift, but failed to pay these employees the

federally mandated overtime compensation for all services performed.

       84.     At all times relevant to this action, Defendant failed to compensate Plaintiff and all

similarly situated current and former putative collective members for at least two (2) to three (3)

minutes of off-the-clock, unpaid work activities they performed during their lunch breaks.

       85.     At all times relevant to this action, Defendant failed to compensate Plaintiff and all

similarly situated current and former putative collective members for at least three (3) to four (4)

minutes of off-the-clock, unpaid work activities they performed after clocking out of Defendant’s
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timekeeping system at the end of their shifts.

       86.     The off-the-clock work performed by Plaintiff and all similarly situated putative

collective members every shift is an essential part of their jobs and these activities and the time

associated with these activities is not de minimis.

       87.     In workweeks where Plaintiff and other putative collective members worked 40

hours or more, the uncompensated off-the-clock time should have been paid at the federally

mandated rate of 150% of each employee’s regularly hourly wage. See 29 U.S.C. § 207.

       88.     Defendant’s violations of the FLSA were knowing and willful. Defendant knew or

could have easily determined how long it took TeleNurses to perform the off the clock pre-shift,

mid-shift and post-shift work activities, and Defendant could have properly compensated Plaintiff

and the members of the Collective for the work they performed, but did not.

       89.     The FLSA, 29 U.S.C. § 216(b), provides that as a remedy for a violation of the Act,

an employee is entitled to his or her unpaid wages (and unpaid overtime if applicable) plus an

additional equal amount in liquidated damages (double damages), plus costs and reasonable

attorneys’ fees.

                                 COUNT II
                        (Rule 23 Illinois Class Action)
    VIOLATIONS OF THE ILLINOIS WAGE PAYMENT AND COLLECTION ACT,
                          §§ 820 ILCS 115/1 et seq.

       90.     Plaintiff re-alleges and incorporates all previous paragraphs herein and further

alleges as follows.

       91.     At all times relevant to the action, Defendant was an employer covered by the

mandates of the Illinois Wage Payment and Collection Act, and Plaintiff and the Rule 23 Illinois

Class are employees entitled to the IWPCA’s protections.
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       92.     The Illinois Wage Payment and Collection Act, §§ 820 ILCS 115/1 et seq. requires

that “[a]ll wages earned by any employee … shall be paid.” 820 ILCS 115/4.

       93.      Under 820 ILCS 115/14(a), an employee aggrieved by an employer’s violation of

the Illinois Wage Payment and Collection Act “shall be entitled to recover through a claim filed

with the Department of Labor or in a civil action, but not both, the amount of any such

underpayments and damages of 2% of the amount of any such underpayments for each month

following the date of payment during which such underpayments remain unpaid. In a civil action,

such employee shall also recover costs and all reasonable attorney’s fees.”

       94.     Defendant violated the IWPCA by regularly and repeatedly failing to compensate

Plaintiff and the Rule 23 Illinois Class for the time spent on the work activities described in this

Complaint.

       95.     As a result, Plaintiff and the Rule 23 Illinois Class have and will continue to suffer

loss of income and other damages. Accordingly, Plaintiff and the Rule 23 Illinois Class are entitled

to recover unpaid wages owed, liquidated damages, costs and attorneys’ fees, and other appropriate

relief under the IWPCA at an amount to be proven at trial.

                                    COUNT III
                           (Rule 23 Illinois Class Action)
                VIOLATIONS OF THE ILLINOIS MINIMUM WAGE LAW,
                             §§ 820 ILCS 105/1 et. seq.

       96.     Plaintiff re-alleges and incorporates all previous paragraphs herein and further

alleges as follows.

       97.     At all times relevant to the action, Defendant was an employer covered by the

mandates of the Illinois Minimum Wage Law, and Plaintiff and the Rule 23 Illinois Class are

employees entitled to the IMWL’s protections.
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            98.    The Illinois Minimum Wage Law, §§ 820 ILCS 105/1 et. seq. requires employers

to pay their employees minimum wages and time-and-a-half their regular rate of pay of hours

worked in excess of forty (40) per week. See § 820 ILCS 105/4; 820 ILCS 105/4a.

            99.    820 ILCS 105/12(a) provides that an employee who is not paid in accordance with

the Illinois Minimum Wage Law “the employee may recover in a civil action the amount of any

such underpayments together with costs and such reasonable attorney’s fees as may be allowed by

the Court, and damages of 2% of the amount of any such underpayments for each month following

the date of payment during which such underpayments remain unpaid.”

            100.   On February 19, 2019, the IMWL was amended to provide for 5% interest (as

oppose to 2%) and treble damages.

            101.   Defendant violated the IMWL by regularly and repeatedly failing to compensate

Plaintiff and the Rule 23 Illinois Class for the time spent on the work activities described in this

Complaint.

            102.   As a result, Plaintiff and the Rule 23 Illinois Class have and will continue to suffer

loss of income and other damages. Accordingly, Plaintiff and the Rule 23 Illinois Class are entitled

to recover unpaid wages owed, liquidated damages, treble damages (post February 2019), interest,

costs and attorneys’ fees, and other appropriate relief under the IMWL at an amount to be proven

at trial.

                                              COUNT IV
                                   (Rule 23 Nationwide Class Action)
                                      BREACH OF CONTRACT

            120.   Plaintiff re-alleges and incorporates all previous paragraphs herein and further

alleges as follows.

            121.   At all times relevant to this action, Defendant had a binding and valid contract with
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Plaintiff and every other Rule 23 Nationwide Class member to pay each employee for each hour

they worked at a pre-established (contractual) regularly hourly rate in consideration of the work

duties Plaintiff and the Rule 23 Nationwide Class members performed on Defendant’s behalf.

       122.     Defendant’s contractual promises to pay Plaintiff and each Rule 23 Nationwide

Class member’s applicable hourly rate is evidenced by, among other things each pay stub issued to

Plaintiff and the Rule 23 Nationwide Class members.

       123.     Upon information and belief, each Rule 23 Nationwide Class member, including

Plaintiff, has an hourly rate of between $14.00 and $19.00 per hour.

       124.    Plaintiff and every other Rule 23 Nationwide Class member accepted the terms of

Defendant’s contractual promises and performed under the contract by doing their jobs and carrying

out the work they performed each shift including the unpaid, off-the-clock work that was required

of them, accepted by Defendant, and that they performed, in connection with pre-shift and meal

period activities, described herein.

       125.    By not paying Plaintiff and every other Rule 23 Nationwide Class member the

agreed upon hourly wage for the work they performed each shift in connection with the off-the-

clock work they performed, Defendant systematically breached its contracts with Plaintiff and each

member of the Rule 23 Nationwide Class.

       126.    Defendant also breached its duty of good faith and fair dealing by failing to keep

track of the time Plaintiff and other Rule 23 Nationwide Class members spent doing pre-, mid-, and

post-shift work activities, which is a fundamental part of an employer’s job.

       127.    Plaintiff’s and the Rule 23 Nationwide Class members’ remedies under the FLSA

are inadequate in this case to the extent Defendant paid them more than the federally mandated

minimum wage of $7.25 per hour but less than 40 hours per week (i.e., pure “gap time” claims).
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       103.    As a direct and proximate result of Defendant’s contractual breaches, Plaintiff and

every other member of the Rule 23 Nationwide Class have been damaged in an amount to be

determined at trial.

                                             COUNT V
                                  (Rule 23 Nationwide Class Action)
                                     UNJUST ENRICHMENT

       104.    Plaintiff re-alleges and incorporates all previous paragraphs herein and further

alleges as follows.

       105.    This Count is pled in the alternative to Count IV, supra, pursuant to Fed. R. Civ. P.

8(d)(2)-(3).

       106.    At all times relevant to this action, Defendant promised Plaintiff and every other

Rule 23 Nationwide Class member a pre-established regular hourly rate in consideration of the

work duties Plaintiff and the Rule 23 Nationwide Class members performed for the benefit of

Defendant.

       107.    Plaintiff and every other Rule 23 Nationwide Class member relied upon Defendant’s

promise for the pre-established regular hourly rate and performed by doing their jobs and carrying

out their required work duties.

       108.    By not paying Plaintiff and every other Rule 23 Nationwide Class member the

agreed upon hourly wage for the off-the-clock work they performed each shift, Defendant was

unjustly enriched.

       109.    Plaintiff and the Rule 23 Nationwide Class members performed off-the-clock work

tasks at the request of and without objection by Defendant.

       110.    Defendant received and accepted the above-referenced off-the-clock work services

from Plaintiff and every other Rule 23 Nationwide Class member and enjoyed the benefits derived
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therefrom.

       111.    Upon information and belief, Defendant used the monies owed to Plaintiff and every

other Rule 23 Nationwide Class member to finance its various business ventures or pay its equity

owners.

       112.    Defendant has been unjustly enriched by the retention of monies received pursuant

to the services Plaintiff and the Rule 23 Nationwide Class performed for Defendant’s benefit,

without having compensated Plaintiff and the Rule 23 Nationwide Class for the same.

       113.    Plaintiff and the Rule 23 Nationwide Class suffered detriment due to Defendant’s

failure to compensate them for the off-the-clock work described herein, in that Plaintiff and the

Rule 23 Nationwide Class were deprived of the ability to utilize that time, effort and their resources

in a profitable manner.

       114.    As a direct and proximate result of Defendant’s actions, Plaintiff and every other

Rule 23 Nationwide Class member suffered damages, including but not limited to, loss of wages.

                                     RELIEF REQUESTED

       WHEREFORE, Plaintiff, YVONNE GABEL, requests the following relief:

               a.      Certifying this case as a collective action in accordance with 29 U.S.C. §
                       216(b) with respect to the FLSA claims set forth herein (Count I);

               b.      Certifying this action as a class action (for the Rule 23 Illinois Class)
                       pursuant to Rule 23(b)(2) and (b)(3) with respect to Plaintiff’s state law
                       claims (Counts II and III);

               c.      Certifying this action as a class action (for the Rule 23 Nationwide Class)
                       pursuant to Rule 23(b)(2) and (b)(3) with respect to Plaintiff’s state law
                       claims (Counts IV and V);

               d.      Ordering Defendant to disclose in computer format, or in print if no
                       computer readable format is available, the names and addresses of all
                       putative Collective action members and the Rule 23 Class members, and
                       permitting Plaintiff to send notice of this action to all those similarly
                       situated individuals, including the publishing of notice in a manner that is
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                      reasonably calculated to apprise the class members of their rights by law to
                      join and participate in this lawsuit;

               e.     Designating Plaintiff as the representative of the FLSA Collective action,
                      the Rule 23 Illinois Class, and the Rule 23 Nationwide Class, and
                      undersigned counsel as Class/Collective counsel for the same;

               f.     Declaring Defendant violated the FLSA and the Department of Labor’s
                      attendant regulations as cited herein;

               g.     Declaring Defendant’s violation of the FLSA was willful;

               h.     Declaring Defendant violated the IMWL and that said violations were
                      intentional, willfully oppressive, fraudulent and malicious;

               i.     Declaring Defendant violated IWPCA and that said violations were
                      intentional, willfully oppressive, fraudulent and malicious;

               j.     Declaring Defendant breached its contracts with Plaintiff and the members
                      of the Rule 23 Nationwide Class by failing to pay them for each hour they
                      worked at a pre-established (contractual) regularly hourly rate;

               k.     Declaring Defendant was unjustly enriched through their failure to pay
                      Plaintiff and the Rule 23 Nationwide Class for the off the clock work
                      discussed herein;

               l.     Granting judgment in favor of Plaintiff and against Defendant and awarding
                      Plaintiff and the Collective action members, the Rule 23 Illinois Class, and
                      the Rule 23 Nationwide Class, the full amount of damages, liquidated
                      damages, and treble damages (where applicable) available by law;

               m.     Awarding interest at the applicable rates, as permitted by the IMWL;

               n.     Awarding reasonable attorneys’ fees and costs incurred by Plaintiff in filing
                      this action as provided by statute;

               o.     Awarding pre- and post-judgment interest to Plaintiff on these damages; and

               p.     Awarding such other and further relief as this Court deems appropriate.


                                       JURY DEMAND

       Plaintiff, YVONNE GABEL, individually and on behalf of all others similarly situated, by

and through her attorneys, hereby demands a trial by jury pursuant to Rule 38 of the Federal Rules
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of Civil Procedure and the court rules and statutes made and provided with respect to the above

entitled cause.


Dated: December 13, 2020

       Respectfully submitted,

                                                    _/s/ Jack Siegel___________
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                                                    ATTORNEYS FOR PLAINTIFF


                                 CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing document will be served on
Defendant with a copy of the Summons that will be issued by the Court.
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                                 _/s/ Jack Siegel
                                 JACK SIEGEL
